                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                          CIVIL ACTION NO. 3:20-CV-559


 A.G., individually and as the Natural
 Parent and Legal Guardian of L.G., a
 Minor,

                Plaintiffs,
                                                                   COMPLAINT
 v.
                                                             [JURY TRIAL DEMANDED]
 THE CITY OF STATESVILLE,
 MICHAEL FATTALEH, in his official
 and individual capacity, and
 IREDELL-STATESVILLE BOARD
 OF EDUCATION,

                Defendants.

      Plaintiffs A.G., individually and as the Natural Parent and Legal Guardian of L.G., a Minor,
complaining of Defendants, allege and say as follows:

                           PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff A.G. is an adult citizen and resident of Iredell County, North Carolina.
A.G. is the natural parent and legal guardian of L.G., a minor. L.G. is presently nine years old.
A.G. is prosecuting this action individually and in her representative capacity on behalf of L.G.
A.G. and L.G. are collectively referred to as “Plaintiffs.”

        2.     At all pertinent times to the allegations contained herein, L.G. was a minor child
suffering from autism, sensory processing disorders, mental illness, learning disabilities, and
behavioral issues.

         3.     Defendant City of Statesville (the “City”) is a body politic and a municipal
corporation organized under the laws of the State of North Carolina. The Statesville Police
Department (“Statesville PD”) is a department of the City. All allegations set forth herein against
the Statesville PD also refer to and include the principals, agents, employees, servants and
independent contractors of the City, either directly or vicariously, under the principles of corporate
liability, apparent authority, agency, ostensible agency, or respondeat superior.




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        4.      Upon information and belief, Defendant Michael Fattaleh (“Officer Fattaleh”) is an
adult resident and citizen of Iredell County, North Carolina. Officer Fattaleh was an officer with
the Statesville PD and employee of the City at the time of the incident giving rise to this Complaint.
At the time of the incident, Officer Fattaleh was assigned as a school resource officer at Pressly
Alternative School, a public school (“Pressly”).

        5.      Defendant Iredell-Statesville Board of Education (“Board”) is a local board of
education organized and existing under the laws of the State of North Carolina, with its principal
place of operation in Iredell County, North Carolina. Pressly is a school owned and operated by
the Board. All allegations set forth herein against Board also refer to and include the principals,
agents, employees and servants of Board, either directly or vicariously, under the principles of
corporate liability, apparent authority, agency, ostensible agency, or respondeat superior.

        6.     Upon information and belief, the City waived governmental immunity that might
otherwise apply to the claims in this case. Upon information and belief, the City has purchased
insurance, either by contract with an insurance company, by participation in a local government
risk pool, or use of a funded reserve which has been deemed to be the same as the purchase of
insurance, which provides coverage – including coverage to its officers and employees – for the
claims raised in this action. The City has thereby waived its governmental immunity on these
claims.

       7.     As set forth below, the City is not entitled to governmental immunity under
42 U.S.C. § 1983.

        8.     Upon information and belief, the Board has waived governmental immunity that
might otherwise apply to the claims in this case. Upon information and belief, the Board has
purchased insurance, either by contract with an insurance company, by participation in a local
government risk pool, or use of a funded reserve which has been deemed to be the same as the
purchase of insurance, which provides coverage – including coverage to its officers and employees
– for the claims raised in this action. The Board thereby waived its governmental immunity on
these claims.

       9.       Alternatively, should the Court determine that the City and/or the Board are entitled
to governmental immunity, which Plaintiffs deny, then Plaintiffs have no adequate remedy at law
and assert violations of Article I, § 19 of the North Carolina Constitution.

       10.     Subject matter jurisdiction over this action is conferred upon and vested in this
Court under, inter alia, 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a), as more fully explained herein.

         11.    This Court has personal jurisdiction over the Defendants, as the City is a local
municipal division of the State of North Carolina and upon information and belief, Officer Fattaleh
is a resident and citizen of North Carolina. Moreover, the incident and conduct giving rise to the
allegations in this Complaint occurred in North Carolina.

        12.    Venue is proper in this Court pursuant to, inter alia, 28 U.S.C. § 1391, as more
fully explained herein.

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       13.     This is an action to recover substantial damages suffered by the minor L.G. as a
consequence of Defendants’ extreme and gross negligence that facilitated Officer Fattaleh’s
excessive use of force in handcuffing L.G. when he was seven years old, face down on the ground
for almost 40 minutes.

                                     FACTUAL ALLEGATIONS

                                          L.G.’s Special Needs

        14.     At the age of six, L.G. was diagnosed with sensory processing disorders that
resulted in “decreased self-regulation including difficulty with transitions, difficulty with adult
directions or adult directed tasks, and sustaining an appropriate level of arousal leading to unsafe
and aggressive behaviors.”

       15.     At the age of seven, L.G. was formally diagnosed with autism spectrum disorder.

        16.    L.G. has significant impairments in his ability to communicate and express his
needs and emotions, regulate his emotions or behavior, process or follow multi-step verbal
directions, respond appropriately to external and internal stimuli, and to understand the
consequences of his actions. L.G., therefore, required a safe school environment.

        17.     On July 31, 2018, the Board – by and through various of its employees –developed
an initial Individualized Education Program (“IEP”) for L.G.

       18.     Due to L.G.’s special needs and pursuant to his IEP, for the 2018-2019 school year,
he was enrolled in a day treatment program located at Pressly and affiliated with non-profit
behavioral and mental health provider Children’s Hope Alliance (“CHA”). Day treatment services
are provided in a classroom setting, with both educational and behavioral and mental health
components. Day treatment providers are required to include specially trained behavioral health
staff.

       19.     Pressley is a public school owned and operated by the Iredell County Board of
Education. At Pressley, the day treatment program is located in a separate building from the
school’s other programs.

       20.     Upon information and belief, the Board approves, provides oversight of, and jointly
operates the day treatment program at Pressly with CHA. Upon further information and belief,
Day Treatment classrooms at Pressly are taught by a main public-school teacher who is an
employee of the Board.

        21.    At all pertinent times, the City, the Statesville PD and the officers assigned to
Pressly were aware that children at the day treatment program had special needs, and suffered from
an array of developmental, mental health and behavioral issues, including autism. The City, the
Statesville PD and its officers knew or should have known that children suffering from autism, as
well as mental health and behavioral issues, can suffer from sensory processing disorders, struggle



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to regulate their emotions, suffer from extreme anxiety, become more easily overstimulated, and
have significant difficulty following multi-step directions or other instructions from an adult.

        22.    At all pertinent times, the Board and its employees were aware of L.G.’s diagnoses,
mental health, and behavioral issues. Specifically, the Board was aware that L.G. struggled with
transitions from one activity to another or from one location to another, which often resulted in
L.G. exhibiting verbal and/or physical aggression. The Board was further aware that L.G.
struggled to regulate his emotions, suffered from extreme anxiety, became easily overstimulated,
and had significant difficulty following verbal multi-step directions or other instructions from an
adult.

       23.     L.G. began school at Pressly on August 27, 2018.

        24.     L.G. was assigned to a classroom under the supervision and care of a special
education teacher (hereinafter, “L.G.’s Special Education Teacher”) and a behavioral health
specialist (“L.G.’s Behavioral Health Specialist”).

      25.     At all times pertinent to this Complaint, L.G.’s Special Education Teacher was an
employee of the Board acting within the course and scope of her employment.

        26.     During the first couple weeks of school, L.G. experienced behavioral issues,
particularly when he became overstimulated during transitions. Defendants were aware that
transitions in L.G.’s day were a trigger for him.

          Officer Fattaleh Unreasonably and Unlawfully Restrains and Harms L.G.

       27.     On September 10, 2018, L.G.’s doctor prescribed him a new medication.
Concerned about his potential reaction to the medication, L.G.’s mother notified Board employees,
including, but not limited to, L.G.’s Special Education Teacher and other individuals working at
Pressly of the medication change and that it may affect L.G.’s behavior at school the next day.

       28.    On September 11, 2018, there were a number of incidents in L.G.’s classroom
involving other students, resulting in multiple transitions in and out of the classroom.
Consequently, L.G. became “agitated and verbalized being stressed out.”

       29.     L.G.’s Special Education Teacher and L.G.’s Behavioral Health Specialist cleared
L.G.’s classroom of other students and transitioned L.G. to the school’s “quiet room” to minimize
stimulation and allow him to calm down in a safe environment. L.G.’s Special Education Teacher,
L.G.’s Behavioral Health Specialist, and a teaching assistant (hereinafter, “Teaching Assistant”)
were all present in the “quiet room” with L.G.

       30.    At all times pertinent to this Complaint, Teaching Assistant was an employee of the
Board acting within the course and scope of his employment.

       31.     Upon information and belief, a few minutes after L.G. was brought to the quiet
room, Teaching Assistant and/or one of the other staff present with L.G. communicated to a school
resource officer that they were okay and did not need assistance.


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       32.      Upon information and belief, CHA’s protocol “for any police involvement . . .
requires that the [Day Treatment] team should be called to assist with the crisis; the team will call
the supervisor and/or clinical director; and instructions will be provided as to the best option to be
considered for client and family (this keeping all safety matters as a first concern for client, family,
and team.)”

       33.      Upon information and belief, neither L.G.’s Special Education Teacher, L.G.’s
Behavioral Health Specialist, nor the Teaching Assistant were concerned for their personal safety
while restraining L.G. in the quiet room.

       34.     Upon information and belief, none of these trained specialists and teachers
requested or required law enforcement intervention at any time for the events described herein.

         35.   After L.G. had been in the quiet room for several minutes, Officer Fattaleh abruptly
entered the room, despite the fact that neither L.G.’s Special Education Teacher, L.G.’s Behavioral
Health Specialist, nor the Teaching Assistant requested assistance from any school resource
officer.

        36.     Upon information and belief, Officer Fattaleh purported to have seen L.G. spit on
the floor, as Officer Fattaleh walked past the “quiet room.”

       37.     L.G. did not look up, speak, or make any movement when Officer Fattaleh entered
the room.

      38.     Immediately, Officer Fattaleh declared “he’s mine now,” and placed L.G. in
handcuffs. L.G. did not resist.

       39.     Officer Fattaleh then forced L.G. into a kneeling position, with his arms pinned
behind him and his hands tightly bound in handcuffs. He told L.G. that “if you spit on me, I’m
going to put a hood on you.”

       40.    Prior to handcuffing L.G., Officer Fattaleh did not ask the other staff present for
any information about L.G., including any behavioral or mental health diagnoses or indeed what
had been going on before he entered the “quiet room” or why he was in the “quiet room.”

       41.     On September 11, 2018, Officer Fattaleh was aware that L.G. had special needs.

       42.     Despite seven-year-old L.G. bound by metal handcuffs, Officer Fattaleh repeatedly
grabbed L.G.’s upper arms tightly from behind, forcing L.G. into an even more restricted position.
Officer Fattaleh then forced L.G. to lay down face down on the floor, while handcuffed.

       43.     While restraining L.G., Officer Fattaleh asked L.G. if he had “ever been charged
before.” When L.G. quietly responded “no,” Officer Fattaleh informed him “well, you’re fixin’
to.” Officer Fattaleh then informed L.G.’s Special Education Teacher and Teaching Assistant,
who were still in the quiet room, that L.G. was going to be charged for spitting.

       44.     Officer Fattaleh told seven-year old L.G.: “If you, my friend, are not acquainted
with the juvenile justice system, you will be shortly.”

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       45.    After Officer Fattaleh handcuffed L.G. and forced him onto the floor, L.G.’s
Special Education Teacher informed him that L.G. was seven years old, autistic, and simply “over-
stimulated.” Officer Fattaleh did not release L.G. or take any steps in response to this information.

       46.     Officer Fattaleh restrained seven-year old L.G. in metal handcuffs, on the ground,
for over 38 minutes.

        47.    At another point during the 38 minutes that L.G. was handcuffed and face down,
Officer Fattaleh placed his knees on L.G.’s back to hold him down. Officer Fattaleh stated: “Have
you ever heard the term babysitter? I take that term literally, my friend.”

        48.    At one point during the restraint, Officer Fattaleh violently torqued L.G.’s body to
one side, causing L.G. to yell out in pain: “Ow! My knee! My knee! It really hurts!” Rather than
altering L.G.’s position to alleviate the pain, Officer Fattaleh responded: “Yeah, it sucks, doesn’t
it?”

       49.   Officer Fattaleh then began discussing football and the weather with L.G.’s Special
Education Teacher, while L.G. continued to be handcuffed and on the floor.

        50.     After being handcuffed for approximately 25 minutes, L.G. requested that Officer
Fattaleh “let me go.” In response, Officer Fattaleh said, “yeah, that’s not gonna happen,” and
forcefully twisted L.G.’s body to one side, causing L.G. to begin crying hysterically.

        51.     L.G. sobbed and pleaded with Officer Fattaleh to “let me go, please!” to “please,
stop it,” and “get away from me!” But Officer Fattaleh continued to restrain L.G. in handcuffs,
while L.G.’s Special Education Teacher and Teaching Assistant looked on.

        52.    While L.G. remained lying face down on the ground in handcuffs, crying, Officer
Fattaleh causally took a statement from L.G.’s Special Education Teacher.

       53.     During that time, L.G.’s Special Education Teacher and Teaching Assistant, the
Board employees responsible for L.G.’s care and safety, stood idly by and failed and refused to
intervene, despite training and knowledge of the immense harm being done to L.G.

       54.     Upon information and belief, neither L.G.’s Special Education Teacher nor
Teaching Assistant contacted any other school official, law enforcement official, or medical or
mental health professional regarding L.G.’s treatment or Officer Fattaleh’s misconduct.

       55.     At the time of these events, L.G. was just seven years old.

       56.     At the time of these events, L.G. stood only 4’ 6” tall, and weighed just 80 lbs.

        57.    Upon information and belief, prior to and during the restraint, Officer Fattaleh knew
that L.G. was in a classroom operated in conjunction with behavioral and mental health services,
including that certain Board employees and CHA employees were specifically trained in
adolescent mental and behavioral health.



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        58.     It was not until L.G.’s mother arrived that L.G. was released from handcuffs. In
fact, another officer released L.G. from the handcuffs, rather than Officer Fattaleh.

       59.     While L.G.’s mother cried at seeing her seven year-old son on the floor surrounded
by police officers, Officer Fattaleh immediately informed L.G.’s mother that L.G. was going to be
charged “with one count of assault, maybe two.”

       60.    Despite his immediately preceding conduct, Officer Fattaleh stated to L.G.’s
mother: “I know he needs help. And I know he’s special needs. That’s one of the reasons Officer
Turner and I work here.”

       61.     As L.G.’s mother picked him up, L.G. told her, “Mommy, they broke my arms.”

       62.     Following the incident, L.G. was sent home from school with his mother.

       63.    L.G. was not suspended from school and no disciplinary action was taken against
him by Pressly.

       64.    L.G.’s mother took L.G. to the emergency room of Davis Regional Medical Center,
where he was diagnosed with “multiple abrasions, scratches and bruises from the incident” on his
arms, back, abdomen, and wrists, and a “thumb print shape bruise on the inside of the right arm.”

        65.     As a result of the trauma of being handcuffed and mistreated by Officer Fattaleh,
L.G. suffered not only physical injuries to his body, but also post-traumatic stress disorder on top
of his existing autism, mental illnesses, and behavioral issues.

        66.    On September 12, 2018, L.G. attempted to return to school at Pressly and CHA’s
Day Treatment Program, but became extremely anxious and agitated and wanted to go home. As
a result of L.G.’s escalating issues, he was placed in restraints twice that day and ultimately sent
home early. During one of those restraints, L.G.’s older brother heard L.G. screaming in the
hallway, and received a disciplinary referral from the school when he attempted to reach L.G.

       67.     L.G. has not been able to return to school since September 12, 2018.

       68.   On September 12, 2018, L.G.’s team of Pressly and CHA staff indicated that a team
meeting needed to occur “to discuss ideas to make [L.G.] feel safe in school again.”

        69.    Upon information and belief, shortly after the events described herein, Officer
Fattaleh was placed on administrative leave. Upon further information and belief, Officer Fattaleh
resigned from the Statesville PD a few days later.

        70.     Upon information and belief, at the time of the incident the City and the Statesville
PD did not have any policy or training concerning when a school resource officer could intervene
in situations involving students in a school setting.

       71.     Upon further information and belief, prior to the incident, the City and the
Statesville PD also did not have any policy or specific training for officers concerning interactions


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with children with autism or special needs, despite staffing such officers in schools specifically for
treating and educating such students.

        72.    As a direct result of the traumatic incident of restraint, L.G. “had a significant
regression in regards to his anger, irritability[,] his explosive behavior [and his] physical
aggression,” and he has not been able to return to school since September 12, 2018, causing L.G.’s
mother to have to homeschool him.

       73.     As a direct consequence of the restraint on September 11, 2018, L.G. received, and
continues to receive, extensive medical treatment.

       74.     As a direct consequence of the restraint on September 11, 2018, Plaintiffs incurred
and are incurring substantial damages, including, but not limited to, medical treatment, physical
and psychological harm, and A.G.’s lost income as a result of being unable to work while caring
for L.G.

        75.    As a direct consequence of Defendants’ acts and omissions, L.G. suffered
significant physical pain and continues to suffer from extraordinary mental anguish and emotional
trauma.

        76.    Because Defendants acted in concert to cause L.G.’s harm, they should be held
jointly and severally liable for all of Plaintiffs’ damages.


                               FIRST CAUSE OF ACTION
     [U.S. Constitutional Violations – 42 U.S.C. § 1983 –Defendants City and Fattaleh]

       77.     The Plaintiffs incorporate by reference the allegations contained in all of the prior
paragraphs.

       78.     Officer Fattaleh is liable in his individual capacity as an employee of the City.

        79.     This cause of action is brought against Defendants City and Officer Fattaleh, in his
official and individual capacity, for excessive use of force. Officer Fattaleh used excessive force
in effectuating an arrest and seizure of L.G., in violation of the Fourth Amendment’s right to be
free from unreasonable seizures.

        80.     Officer Fattaleh’s use of force on L.G. was objectively unreasonable. Rather,
Officer Fattaleh inflicted unnecessary and wanton pain and suffering upon L.G. by handcuffing
him, face down on the floor of his school, for 38 minutes, despite the fact that L.G. was a seven
year old boy with autism who did not pose any danger to himself or others. L.G.’s size and stature
were also much smaller than Officer Fattaleh, such that he could not have reasonably been seen to
pose a safety threat to Officer Fattaleh.

        81.    Officer Fattaleh’s unreasonable use of force appears to have been solely in response
to L.G. purportedly spitting on the ground.



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       82.    Officer Fattaleh further inflicted unnecessary and wanton pain and suffering on
L.G. by placing his knees into L.G.’s back, and twisting L.G. up and to one side such that he
immediately cried out in pain.

        83.     Officer Fattaleh’s use of force was not done in a good faith effort to maintain or
restore discipline, as L.G. was being safely restrained by school staff at the time Officer Fattaleh
intervened. Rather, Officer Fattaleh’s use of force was malicious and sadistic, and for the very
purpose of causing harm to L.G.

        84.    Officer Fattaleh’s conduct violated clearly established statutory or constitutional
rights of which a reasonable person in his position would have known.

        85.     The City failed to implement adequate policies with respect to the proper use and
application of force, when to intervene in situations involving students in a school setting, and how
to interact with and respond to children with autism and special needs.

        86.    The City further failed to adequately train and instruct officers such as Officer
Fattaleh in the proper use and application of force, in when to intervene in situations involving
students in a school setting, and how to interact with and respond to children with autism and
special needs.

       87.     Defendants’ actions and omissions were made under color of state law.

        88.    As a direct and proximate result of Officer Fattaleh’s excessive use of force
described in more detail above, the minor Plaintiff suffered severe and permanent psychological
injuries and was forced to endure extreme pain, suffering, and emotional distress and mental
anguish together with a total deprivation of his rights guaranteed him by the Constitution of the
United States of America, including but not limited to, his right under the Fourth Amendment to
be free from unreasonable seizures.

                              SECOND CLAIM FOR RELIEF
              [Negligence and Gross Negligence –Defendants City and Fattaleh]

        89.    Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully
set forth.

        90.    At all times pertinent to this Complaint, the City and Officer Fattaleh owed a duty
of reasonable care to L.G.

       91.    Officer Fattaleh’s misconduct described herein is imputed to the Statesville PD
under agency principles, vicarious liability, and the doctrine of respondeat superior.

       92.    Officer Fattaleh knew or should have known that L.G. suffered from autism and
other behavioral and mental health conditions.

        93.    Officer Fattaleh knew or should have known that L.G. did not possess the same or
similar capacity, discretion, knowledge or experience as other children of his age.

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        94.     The City and Officer Fattaleh systematically breached their legal duties to Plaintiffs
and were negligent at the times and places as described above in great detail, and distilled to at
least the following particulars:

               a. Officer Fattaleh used excessive force in handcuffing L.G. face down on the
                  ground for 38 minutes;

               b. Officer Fattaleh used excessive force in manhandling L.G., placing his knees in
                  L.G.’s back, and violently twisting L.G.’s body so that he cried out in pain;

               c. Defendants failed to account in any reasonable way for L.G.’s autism,
                  behavioral issues, and mental health conditions;

               d. Defendants failed to take into consideration the well-being and safety of L.G.;

               e. Defendants failed to implement appropriate safety precautions and measures to
                  ensure the safety of L.G.;

               f. The City failed to implement policies, procedures, and practices for when
                  school resource officers should respond to a situation involving students in a
                  school setting;

               g. The City failed to implement policies, procedures, and practices for how
                  officers should respond to children with autism;

               h. The City failed to properly supervise, train, and monitor Officer Fattaleh; and

               i. Defendants acted wantonly, with conscious or reckless disregard for the rights
                  and safety of L.G.

        95.    The negligent acts and omissions of Defendants, as described hereinabove, were
direct and proximate causes of L.G.’s injuries and Plaintiffs’ damages.

      96.     The acts and omissions of Defendants, as described hereinabove, were willful,
wanton and/or reckless, and amount to gross negligence.

       97.     Defendants’ actions and omissions amount to a conscious and intentional disregard
and indifference to the rights and safety of L.G.

        98.     The acts and omissions of Defendants directly and proximately caused L.G.’s
injuries, medical expenses (both current and throughout the remainder of his life), pain and
suffering, post-traumatic stress disorder, loss of future income, and reduction in the quality of his
life.

       99.    Defendants are liable to Plaintiffs for their negligent and/or grossly negligent acts
and omissions in an amount to be proven at trial, but believed to be substantially in excess of
$25,000.00, plus interest.

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        100. Individually and as the natural mother of minor Plaintiff L.G., A.G. was and
remains responsible for obtaining and paying for L.G.’s necessary medical treatment and expenses
resulting from his injuries suffered on September 11, 2018.

        101. As a result of Defendants’ negligence and gross negligence, A.G. has also been
forced to quit her job and remain home to care for and homeschool L.G., incurring significant lost
wages and damages.

        102. Pursuant to N.C.G.S. § 1D-1, et seq., Plaintiffs are entitled to recover punitive
damages to punish Defendants for their wrongful conduct and to discourage them and others
similarly situated from engaging in similarly wrongful future conduct.

                              THIRD CAUSE OF ACTION
[Negligent Hiring, Negligent Supervision, Negligent Retention, and Gross Negligence – the
                                          City]

       103.      The Plaintiffs incorporate by reference the allegations contained in all of the prior
paragraphs.

          104.   Officer Fattaleh was an employee of the City at all times relevant to this Complaint.

        105. The City had a duty to exercise ordinary and reasonable care in the screening,
hiring, training, retention, and supervision of its employees, including Officer Fattaleh.

          106.   The City breached such duties.

        107. Specifically, as alleged herein, the City failed to properly train and supervise
Officer Fattaleh with respect to when to intervene in situations involving students in a school
setting, and how to interact with and respond to children with autism and special needs.

       108. The City’s actions and inactions were grossly negligent and/or committed in
reckless disregard for L.G.’s rights.

        109. As a direct and proximate result of the City’s negligent hiring, supervision, and
retention of Officer Fattaleh, the Plaintiffs have been damaged in excess of $25,000.00.

                               FOURTH CLAIM FOR RELIEF
                      [Negligence and Gross Negligence –Defendant Board]

        110.     Plaintiffs restate and reallege the allegations in the preceding paragraphs as if fully
set forth.

          111.   At all times pertinent to this Complaint, the Board owed a duty of reasonable care
to L.G.



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        112. L.G.’s Special Education Teacher and Teaching Assistant misconduct described
herein is imputed to the Board under agency principles, vicarious liability, and the doctrine of
respondeat superior.

       113. L.G.’s Special Education Teacher and Teaching Assistant knew that L.G. suffered
from autism and other behavioral and mental health conditions.

        114. L.G.’s Special Education Teacher and Teaching Assistant knew or should have
known that L.G. did not possess the same or similar capacity, discretion, knowledge or experience
as other children of his age.

        115. The Board systematically breached its legal duties to Plaintiffs and was negligent
at the times and places as described above in great detail, and distilled to at least the following
particulars:

               a. Failed to intervene when Officer Fattaleh used excessive force and manhandled
                  L.G., including when Officer Fattaleh handcuffed L.G. for almost 40 minutes,
                  placed his knees in L.G.’s back, and violently twisted L.G.’s body so that he
                  cried out in pain;

               b. Failed to keep L.G. safe from harm;

               c. Failed to account in any reasonable way for L.G.’s autism, behavioral issues,
                  and mental health conditions;

               d. Failed to take into consideration the well-being and safety of L.G.;

               e. Failed to implement appropriate safety precautions and measures to ensure the
                  safety of L.G.;

               f. Failed to implement policies, procedures, and practices for how school
                  employees should respond to, and when they should intervene in, the use of
                  excessive force by school resource officers involving students in a school
                  setting;

               g. Failed to implement policies, procedures, and practices for how officers should
                  respond to children with autism;

               h. Failed to properly supervise, train, and monitor L.G.’s Special Education
                  Teacher and Teaching Assistant; and

               i. Acted wantonly, with conscious or reckless disregard for the rights and safety
                  of L.G.

        116. The negligent acts and omissions of the Board, as described hereinabove, were
direct and proximate causes of L.G.’s injuries and Plaintiffs’ damages.


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      117. The acts and omissions of the Board, as described hereinabove, were willful,
wanton and/or reckless, and amount to gross negligence.

       118. The Board’s actions and omissions amount to a conscious and intentional disregard
and indifference to the rights and safety of L.G.

        119. The acts and omissions of the Board directly and proximately caused L.G.’s
injuries, medical expenses (both current and throughout the remainder of his life), pain and
suffering, post-traumatic stress disorder, loss of future income, and reduction in the quality of his
life.

       120. The Board is liable to Plaintiffs for its negligent and/or grossly negligent acts and
omissions in an amount to be proven at trial, but believed to be substantially in excess of
$25,000.00, plus interest.

        121. Individually and as the natural mother of minor Plaintiff L.G., A.G. was and
remains responsible for obtaining and paying for L.G.’s necessary medical treatment and expenses
resulting from his injuries suffered on September 11, 2018.

        122. As a result of Defendants’ negligence and gross negligence, A.G. has also been
forced to quit her job and remain home to care for and homeschool L.G., incurring significant lost
wages and damages.

        123. Pursuant to N.C.G.S. § 1D-1, et seq., Plaintiffs are entitled to recover punitive
damages to punish the Board for their wrongful conduct and to discourage them and others
similarly situated from engaging in similarly wrongful future conduct.

                                   FIFTH CAUSE OF ACTION
          [Intentional/Reckless Infliction of Emotional Distress –Defendants the City and
                                           Fattaleh]

       124.    The preceding paragraphs are realleged and incorporated herein as if fully set forth.

      125. Officer Fattaleh’s conduct was extreme and outrageous in that it exceeded all
bounds usually tolerated by decent society.

        126. Specifically, as alleged herein, Officer Fattaleh used violent, excessive force
against L.G., a seven year old autistic student who weighed approximately fifty-percent less than
Officer Fattaleh.

       127.    Officer Fattaleh unnecessarily placed L.G. in handcuffs on the floor, for 38 minutes.

       128. A.G. witnessed L.G. in handcuffs on the floor, and her son’s distress in that moment
and the days, weeks, and months that followed.




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        129. Officer Fattaleh’s conduct was intended to cause, or was recklessly indifferent to
the likelihood that it would cause severe emotional distress to Plaintiffs.

       130. Officer Fattaleh’s actions described herein are imputed to the City under the
doctrine of respondeat superior because at all pertinent times, Officer Fattaleh was acting in the
course and scope of his employment with the City.

       131.    Defendants’ conduct in fact caused severe emotional distress to Plaintiffs.

          132. As a direct and proximate result of Defendants’ intentional and/or reckless
infliction of severe emotional distress, Plaintiffs suffered damages in an amount to be determined
at trial, for which all Defendants are jointly and severally liable.

                                     SIXTH CAUSE OF ACTION
                     [Negligent Infliction of Emotional Distress – All Defendants]

       133.    The preceding paragraphs are realleged and incorporated herein as if fully set forth.

        134. Defendants knew or should have known, and it was reasonably foreseeable that
their conduct would cause Plaintiffs’ severe emotional distress.

        135. Defendants’ actions and inactions were negligent and caused severe emotional
distress to Plaintiffs.

       136. Officer Fattaleh’s actions described herein are imputed to the City under the
doctrine of respondeat superior because at all pertinent times, Officer Fattaleh was acting in the
course and scope of his employment with the City.

        137. L.G.’s Special Education Teacher and Teacher Assistant’s actions described herein
are imputed to the Board under the doctrine of respondeat superior because at all pertinent times,
L.G.’s Special Education Teacher and Teaching Assistant were acting in the course and scope of
their employment with the Board.

       138. As alleged above, it was reasonably foreseeable that Defendants’ numerous failures
and breaches of the standard of care would result in extreme harm to the Plaintiffs.

        139. Despite the absence of policies and training concerning when school resource
officers could intervene with students in a school setting, or how to respond to children with autism
and special needs, the City and Board allowed Officer Fattaleh to work at Pressly in a position of
power and authority over vulnerable students with special needs. The City and Board’s conduct
fell below the applicable standard of care and was reasonably likely to lead to and cause severe
emotional distress to Plaintiffs.

      140. Officer Fattaleh’s negligent conduct, described above, occurred while he was an
employee of the City. As a public employee, he is not entitled to governmental immunity.



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        141. Among other failures, the Board negligently failed to maintain adequate policies
and training concerning when and how school employees should respond to, and intervene in, the
excessive use of force by school resource officers against students on school grounds.

         142. As a direct and proximate result of Defendants’ actions and inactions, negligently
inflicting emotional distress upon Plaintiffs, Plaintiffs suffered damages in an amount to be
established at trial, for which Defendants are jointly and severally liable.

                   SEVENTH (ALTERNATIVE) CAUSE OF ACTION
                         [Assault & Battery – Defendants City and
                  Officer Fattaleh, in his Official and Individual Capacity]

       143.    The preceding paragraphs are realleged and incorporated herein as if fully set forth.

       144. Alternatively, Officer Fattaleh threatened L.G. with physical harm by an act or
display of force.

       145.    Alternatively, Officer Fattaleh caused unwanted bodily contact with L.G.

       146. Specifically, Officer Fattaleh made a show of force and handcuffed, pinned to the
ground, sat on, and twisted the arms of minor Plaintiff L.G.

       147.    The bodily contact described herein actually offended and harmed L.G.

       148.    The bodily contact described herein occurred without L.G.’s consent.

        149. Officer Fattaleh’s actions caused L.G. to have a reasonable apprehension that
further harmful and offensive contact to his person was imminent.

       150.     Officer Fattaleh’s actions described herein are imputed to Defendant City under
the doctrine of respondeat superior because at all pertinent times, Officer Fattaleh was acting in
the course and scope of his employment with the City.
       151. As a direct and proximate result of Officer Fattaleh’s assault, Plaintiffs suffered
damages in an amount to be proven at trial, for which Defendants City and Officer Fattaleh,
individually and in his official capacity, are jointly and severally liable

                               EIGHTH CAUSE OF ACTION
                             [Punitive Damages – All Defendants]

       152.    The preceding paragraphs are realleged and incorporated herein as if fully set forth.

       153. Officer Fattaleh’s actions as alleged hereinabove constitute willful and wanton
conduct, as set forth in N.C.G.S. §1D, and are imputed to the City through the doctrines of
vicarious liability and respondeat superior.




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       154. The Board’s actions and inactions, by and through its agents and employees, as
alleged hereinabove constitute willful and wanton conduct, as set forth in N.C.G.S. §1D, and are
imputed to the City through the doctrines of vicarious liability and respondeat superior.

       155. Pursuant to N.C.G.S. § 1D, Plaintiffs are entitled to recover punitive damages from
Defendants, jointly and severally, in an amount to be determined by a jury, in an amount to be
determined at trial.

                    NINETH (ALTERNATIVE) CAUSE OF ACTION
[Violation of North Carolina Constitution – Defendants City, Board, and Officer Fattaleh,
                                in his Official Capacity]

       156.    The preceding paragraphs are realleged and incorporated herein as if fully set forth.

       157. Alternatively, should the Court determine that the City and/or the Board is entitled
to governmental immunity, which Plaintiffs deny, then Plaintiffs have no adequate remedy at law
and assert the following Constitutional violations pursuant to the laws of the State of North
Carolina.

        158. The City and the Board violated Article I, § 19 of the North Carolina Constitution
by depriving the minor Plaintiff of his bodily integrity and thereby depriving him of his liberty
interests and privileges.

       159. The City and the Board acted under color of state law to deprive the minor Plaintiff
of his rights, privileges, and immunities secured by Article I, § 19 of the North Carolina
Constitution.

       160. As a result of the City’s and the Board’s violations of the North Carolina
Constitution and deprivation of the minor Plaintiff’s rights, the Plaintiffs have suffered significant
damages in an amount to be determined at trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for the following relief:

       1.        Award Plaintiffs damages against Defendants, jointly and severally, for their
negligence and gross negligence, and negligent infliction of emotional distress, in an amount to be
proven at trial;

        2.      Award Plaintiffs damages against the City and Fattaleh, jointly and severally, for
their violation of 42. U.S.C. § 1983 and intentional infliction of emotional distress, in an amount
to be proven at trial;

        3.     Award Plaintiffs damages against the City for negligent hiring, supervision, and
retention;


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       4.      Grant Plaintiffs punitive damages against Defendants, jointly and severally, for
their malicious, and willful and wanton conduct, pursuant to N.C. Gen. Stat. §§ 1D-1, et seq;


       5.      In the alternative, award Plaintiffs damages against the City and Officer Fattaleh,
individually and in his official capacity, for assault and battery in an amount to be proven at trial;

        6.     In the alternative, award Plaintiffs damages against the City and/or the Board for
violation of Article I, § 19 of the North Carolina Constitution, as Plaintiffs have no adequate
remedy at law;

          7.     That Plaintiffs have and recover their attorneys’ fees to the fullest extent allowed
by law;

          8.     Tax the costs of this action against Defendants;

          9.     That Plaintiffs have a trial by jury on all issues so triable; and

        10.   Grant Plaintiffs any other remedy which this Court deems just and equitable under
the circumstances.

          This the 9th day of October 2020.


                                                 JAMES, McELROY & DIEHL, P.A.


                                                 __/s/ J. Alexander Heroy___________
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